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                            Dniteb States Bi
                                                             DISTRICT OF

                                                                                                           CLERK. U.S.DISTRICT COURT
                                                                                                         EASTERN DISTRICT OF CAL~FORN~A
                                                                                                         BY
                 UNITED STATES OF AMERICA                                                                             DEPUTY CLEIIK



                                 v.                                       ORDER SETTING CONDITIONS
                                                                                 OF RELEASE



                             Defendant


               IT IS ORDERED that the release of the defendant is suhject to the following conditions:

                 (I) The defendant shall not commit any offense in violation of federal. state or local law while on release in thia
                      case.

                 (2) The defendant shall immediately advise the court, defense counsel and the IJ.S. attorney in writing of any
                     change in address and telephone number.

                 (3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence

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                    ~~7~l..lcSf,~ ,
                     imposed as directed. The defendant shall next appear at (if blank, to k notified)

                                                                                         "7 &J-o~ b [ d . 1 3 0 ~
                                                                                    Date and 'I!mc
                    ~ L S L L D          CA
                                   Release on Personal Recognizance or Unsecured Bond
               IT IS FURTHER ORDERED that the defendant be released provided that:

        ( /)    (4) The defendant promises to appear at all proceedings as required and to surrender for service of any sentence
                     imposed.

        (      ) (5) The defendant executes an unsecured bond binding the defendant to pay the United States the sum of

                                                              -      -                    -dollars ($-                   )-
                     in the event of a failure to appear as required or to surrender as directed for service of any sentence imposed.




WHITE COPY - COURT         YELLOW - DEFENDANT          BLUE - U.S. ATTORNEY        PINK - U S . MARSHAL        G R E E N - P R E T R I A L SERVICES
SIDHU, Daljit
0 6 - ~ 1
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                           9 ~ ~ ~ ~
                                    ADDITIONAL CONDITIONS OF RELEASE                                                                           2~
           U p o n finding t h a t release b y one of the above methods will n o t b y itselfreasonably assure the appearance of the defendant
a n d the safety of o t h e r persons a n d the community, it is FURTHER ORDERED t h a t t h e release o f t h e defendant i s subject to the
conditions m a r k e d below:

( )       (6)        T h e defendant is p l a c e d in t h e custody of:

                     N a m e o f person o r organization


w h o agrees (a) t o supervise t h e defendant in accordance with a l l conditions of release,
(b) t o use e v e r y effort t o assure the appearance o f the defendant a t a l l scheduled c o u r t proceedings, a n d (c) t o n o t i f y t h e c o u r t
i m m e d i a t e l y in the event the defendant violates a n y conditions o f release o r disappears.

                     SIGNED:
                                           C U S T O D I A N OR P R O X Y

(Xj       (7)        The defendant shall:
          ( )        (a)      maintain or actively seek employmen4 and provide proof thereof to the PSO upon request
          ( )        (b)      maintain or commence an educational program.
          (XI        (c)      abide by the followine restrictions on his ~ersonalassociations, place o f abode, or travel:
                              Kcridc at a rcridencc appnned k, I'relr~alSen icer. and not mote or be abrcnl rrom tlllr rcrlicncc 61r Irlorc tnan 24 nri.
                              willlout p r l o r a ~ p r o ~ a l o l P S tra,rl
                                                                         0.     rcstr~ctcJto the Eartern Dirlr~ctolCalilornia.~ n l e ~ > d t h c r nappro\cd
                                                                                                                                                      i~e     .n adbancc

          ( j        (d)        avoid all contact with the following named persons, who are considered either alleged victims or potential witnesscs:
                                 unless in the prescnce o f counsel or otherwise approved i n advance by the PSO.
          (X)        (e)       report on a reeular basis to the following agency:
                               Pretrial Services and comply with thcir rules and regulations.
          ( 1        (0        comply with thc following curfew:
          ( )        (g)       refrain from possessing a firearm, destructive device, or other dangerous weapon.
          (1         (h)       refrain fromexcessive useofalwhol, and any use or unlawful possession ofanarcotic drug and other controlled substances
                               detincd in 21 USC $802 unless prescribed bp a licensed medical practitioner.
          I )        (i)              -                ..
                               undereo medical or osvchiatric treatmcnt andlor remain in an institution. as follows: Including
                               alcohol depcndcncy, and .pay
                                                                                                                                      " treatment for drug andlor
                                                                   . for costs as approved by the PSO.
                                                                                ~   ~




          (x)        (i)       execute a bond or an agreement to forfeit upon failine to appear or failure to abide by anv of the conditions of releasc. the
                                followine sum of money or designated Dropem: $250.000 unsecured bond signed by Gurdarshan Grewal and Hamareet
                                Sinnh Grewal.
                               post with the court the following indicia or ownership of the above-described property, or the following amountor
                               percentage o f the above-described money:
                               execute a bail bond with solvent sureties in the amount of $
                                return to custody each (week)day as of o'clock after being released each (wcek)day as of o'clock for employment,
                               schooling, or the following limited purpose(s):
                               surrcnder any Dasswrt to the Clerk. United States District Court.
                               ooraln no pdssp,~ndurlna thc pcndenc, o f t h ~;ax.      i
                               reDon n person 10 the I'retr~alSen ices Aecn;) on the lirrl work~ne,da, lollowlnz ,<IJ~rclca,e from curled\
                                  omit 10 drug and or alcohol testlng d~rcctcdb) I'SO
                               report any prescriptions to PSO within 48 hoursofreceipt.
                               participate inoneofthe followinghomeconfinementprogramcomponentsand abidc by all the requirementsofthe program
                               which ( ) w i l l or ( ) w i l l not includc electronic monitoring or other location vcrification system.
                               ( j     ( i j Curfew. You are restricted to your residence every day ( j from                         to                 , or
                                              ( j as dirccted by the Pretrial Services o f i c e or supcrvising oficer; or
                               ( j (ii) Home Detention. You are restricted to your rcsidence at all times except forcmployment: education;
                                              religious services; or mental health treatment; anorney visits; court appearances; court-ordered obligations;
                                              or other activitics as pre-approved by the Pretrial Scrvices oftice or supervising ofticcr; or
                               ( j ( i i i j Home Incarceration. You are restricted to your residence at all times exccpt for medical needs or treatmenl,
                                             rcligious services, and court appearances pre-approved by the Pretrial Services o f i c e or supervision officer.




(Copies to: Defendant, US Atlomey, US Marshal, Pretrial Services)
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     A 0 199C (gv.                      ...
         -       U91)Advice of Penalties
                               -


                                                         Advice of Penalties and Sanctions
                                                                                          -
                                                                                                                      Page-



     TO THE DEFENDANT:
             YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

             A violation of any ofthe foregoing conditions of release may result in the immediate issuance of a warrant for your arrest,
     a revocation of release, an order of detention, and aprosecution for contempt of court and could result in a term of imprisonment,
    a fine, or both.
         The commission of any crime while on pre-trial release may result in an additional sentence to a term of imprisonment of
    not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one year, if the offense is a
    misdemeanor. This sentence shall be in addition to any other sentence.
         Federal law makes it a crime punishable by up to five years of imprisonment, and a $250,000 tine or both to intimidate or
    attempt to intimidate a witness, vietim, juror, informant or officer of the court, or to obstruct a criminal investigation. It is also
    a crime punishable by up to ten years of imprisonment, a $250.000 fine or both, to tamper with a witness. victim or informant,
    or to retaliate against a witness, victim or informant, or to threaten or attempt to do so.
         If after release, you knowingly fail to appear as required by the conditions of release. or to surrender for the service of sentence,
    you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
         (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you shall be
              fined not more than $250,000 or imprisoned far not more than ten years, or both;
         (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall be fined
              not more than $250,000 or imprisoned for not more than tive years or both;
         (3) any other felony, you shall be fined not more than $250,000 or imprisoned for not more than two years. or both;
         (4) a misdemeanor, you shall he fined not more than $100.000 or imprisoned not more than one year, or both.
         A term of imprisonment imposed for failure to appear or surrender sball be in addition to the sentence for any other offense.
    In addition, a failure to appear may result in the folfeiture of any bond posted.

                                                         Acknowledgement of Defendant
        I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all
    conditions of release, to appear as directed, and to surrender for service of any sentence imposed. I am aware of the penalties
    and sanctions set forth above.




                                                                                                               Address


                                                                                                                                     Telephone




              /                                      Directions to United States Marshal
eT
 h/!,(              defendant is ORDERED released after processing.
    (    )     The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judicial officer that
               the defendant has posted bond and/or complied with all other conditions for release. The defendant shall be produced before
               the appropriatejudicial officer at the time and place specified, if still in custody.
               Date:          V2
                               .c
                                                                                                            t u r u Judicial Officer



                                                                                                Name and Title of Judicial Officer




    WHITE COPY - COURT              YELLOW - DEFENDANT           BLUE US. A T O R N E Y       PINK - U S MARSHAL              GREEN - PRETRlAL SERVICES
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